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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



NANCY GIMENA HUISHA-HUISHA, et al.,

              Plaintiffs,

     v.
                                              Civ. A. No. 21-100 (EGS)
ALEJANDRO MAYORKAS, Secretary of
Homeland Security, et al.,

              Defendants.



              DEFENDANTS’ OPPOSITION TO PLAINTIFFS’
              MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                        INTRODUCTION

        Since the onset of the COVID-19 pandemic in March 2020, the Centers for Disease Control

and Prevention (“CDC”) has issued a series of orders (“Title 42 orders”) invoking its authority under

the Public Health Service Act, 42 U.S.C. § 265 (“Section 265”), to temporarily suspend the right to

introduce into the United States certain noncitizens traveling from Mexico and Canada who would

otherwise be held in congregate settings in ports of entry or U.S. Border Patrol stations. The currently
operative order was issued in August 2021, when the highly transmissible Delta variant was raging in

the United States, driving a stark increase in COVID-19 cases, hospitalizations, and deaths. After

conducting a comprehensive assessment of the public health conditions as applied to border facilities,

CDC determined that unlike unaccompanied children, excepting noncitizen single adults and family

units from the order would pose a significant public health risk. CDC thereafter terminated the August

order based on significantly improved public health conditions, but another federal court has

preliminarily enjoined that termination order.

        Plaintiffs and class members are noncitizen family units subject to the August 2021 order.

They previously moved for and obtained a preliminary injunction based on their statutory claims, but

the D.C. Circuit held that, subject to certain limitations, CDC likely has statutory authority to expel

the class members, thus narrowing the scope of the preliminary injunction. Plaintiffs now move for

partial summary judgment on their remaining claim that CDC’s “Title 42 Policy” is arbitrary and

capricious under the Administrative Procedure Act (“APA”), focusing primarily on the operative

August order.

        This Court should deny the motion. As a threshold matter, CDC’s decision in issuing the

August 2021 order is committed to the agency’s discretion by law and not reviewable under the APA.

This is so because CDC’s exercise of its Section 265 authority involved a complicated analysis of a

variety of factors uniquely within CDC’s expertise and scientific judgment, and the statute provides

no standards to guide the Court’s review of the public health determination that the August order was

necessary to prevent the serious danger of the introduction of COVID-19 into the United States.
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          On the merits, Plaintiffs’ arbitrary and capricious claim fails as a matter of law. Despite

Plaintiffs’ attempt to challenge the rationality of the August 2021 order based on more current public

health conditions, this Court’s review is limited to the administrative record before CDC at the time

of the August order. Here, the administrative record amply demonstrates that the August order was

the result of reasoned decision-making. Central to CDC’s public health determination was the rapid

spread of the Delta variant, which was a particularly formidable threat to the unvaccinated, especially

those in congregate settings. And yet, a significant number of incoming covered noncitizens who

otherwise would be held in the border facilities’ congregate setting for hours to days were coming
from countries with low vaccination rates. Moreover, border facilities are ill-equipped to manage an

outbreak and must rely on local healthcare systems for medical care to noncitizens, but there were

worrisome signs of stress in healthcare resources in the southern regions of the United States. The

United States was also experiencing a migratory surge of noncitizens entering the United States that

threatened to lengthen the time noncitizens spent in border facilities. In the face of a confluence of

factors, CDC reasonably concluded that the August 2021 order was necessary in the interest of public

health.

          Plaintiffs’ attempts to argue otherwise are unavailing. They contend that CDC unreasonably

deviated from its alleged “least restrictive means” standard for implementing public health measures.

But CDC has no such all-encompassing agency policy. The 2017 CDC regulation Plaintiffs cite that

adopted such a standard was in the specific context of quarantine orders applicable to U.S. citizens

and others, which can implicate constitutionally protected liberty interests. Even if the standard were

applicable here, the August order clearly met it because CDC considered and rejected various

alternatives to expulsion precisely because those alternatives were either unavailable or inadequate to

protect the public health.

          Ultimately, Plaintiffs’ challenge boils down to the idea that the government should have done

more to resume normal immigration processing, either by building up more processing capacity,

setting up testing and vaccination programs, or constructing facilities to quarantine the tens of

thousands of migrants seeking to cross the border between ports of entry or present themselves at a

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port of entry without valid travel documents. But Plaintiffs do not, and cannot, assert a “failure to

act” claim, which requires them to identify a nondiscretionary duty unequivocally commanding

Defendants to scale up those mitigation measures. While Plaintiffs evidently believe that CDC should

have tried to protect the public health through different means (rather than invoking Section 265),

this Court’s review of CDC’s expert judgment is highly deferential. Because CDC has reasonably

explained its decision after considering the relevant issues, this Court should not substitute Plaintiffs’

policy judgment for that of the agency.

         For these reasons, and those stated below, this Court should deny Plaintiffs’ motion for partial
summary judgment.

                                           BACKGROUND

    I.       CDC’S TITLE 42 AUTHORITY TO RESTRICT ENTRY

         Section 362 of the Public Health Service Act of 1944 provides the CDC Director “the power

to prohibit, in whole or in part, the introduction of persons and property from such countries or places

as [the CDC Director] shall designate,” whenever CDC “determines that by reason of the existence

of any communicable disease in a foreign country there is serious danger of the introduction of such

disease into the United States” and that “a suspension of the right to introduce such persons and

property is required in the interest of the public health.” 42 U.S.C. § 265. The provision is nearly

identical to its predecessor statute, the Act of February 15, 1893, ch. 114, § 7, 27 Stat. 449, 452, except

that the 1893 Act lodged the authority in the President. 1 Before the COVID-19 pandemic, the

authority to restrict the entry of persons had been invoked only once—in 1929 by President Herbert

Hoover during a meningitis outbreak in parts of Asia. See Huisha-Huisha v. Mayorkas, 27 F.4th 718,

727 (D.C. Cir. 2022); Exec. Order No. 5143 (June 21, 1929).




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  In re-enacting the 1893 Act, Congress placed the authority in the Surgeon General. See H.R. Rep.
No. 78-1364, at 25 (1944); 42 U.S.C. § 265. The authority was later transferred to the HHS Secretary
and then delegated to the CDC Director. See 85 Fed. Reg. 56,424 (Sept. 11, 2020).
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    II.      CDC’S INVOCATION OF TITLE 42 AUTHORITY
          In March 2020, as the world faced a historic, unprecedented outbreak of COVID-19, CDC

issued an interim final rule implementing its Title 42 authority, 85 Fed. Reg. 16,559 (Mar. 24, 2020),

and simultaneously issued an order suspending the right to introduce into the country certain

noncitizens (most commonly those who lack valid travel documents) traveling from Canada or Mexico

who would otherwise be introduced into a congregate setting in a port of entry or Border Patrol station

at or near the border, 85 Fed. Reg. 17,060 (Mar. 26, 2020) (“March 2020 order”). As CDC explained,

these border facilities were “not designed for, and [were] not equipped to, quarantine, isolate, or enable

social distancing,” and the introduction of persons into congregate settings in such facilities
“increase[d] the already serious danger to the public health” posed by COVID-19. Id. at 17,061.

Moreover, CDC explained that the “infection control procedures” then employed at the border

facilities “[were] not easily scalable for large numbers of [noncitizens].” Id. at 17,065. In addition, the

public health tool of conditional release was “not a viable solution in this context.” Id. at 17,067.

CDC assessed that many covered noncitizens might lack homes or other places in the United States

where they could effectively self-quarantine, self-isolate, or otherwise comply with existing social

distancing guidelines. Id. And, in any event, “CDC lack[ed] the resources and personnel necessary to

effectively monitor such a large number of persons.” Id.; see also 85 Fed. Reg. 31,503, 31,508 (May 26,

2020) (same). CDC later extended and amended the order, and reassessed it periodically to determine

its continued necessity. See 85 Fed. Reg. 22,424 (Apr. 22, 2020); 85 Fed. Reg. at 31,509; AR22458–

472; AR23096–98.

          In September 2020, following notice-and-comment rulemaking, CDC promulgated a

regulation to govern its future exercise of Title 42 authority. See 42 C.F.R. § 71.40; see also 85 Fed. Reg.

56,424 (Sept. 11, 2020) (“Final Rule”). As with the statute, the regulation authorizes the CDC Director

to issue a Title 42 order “in the interest of public health” and “for such period of time that the Director

deems necessary to avert the serious danger of the introduction of a quarantinable communicable

disease” into the United States. 42 C.F.R. § 71.40(a). The regulation defines “serious danger of the

introduction of [a] quarantinable communicable disease into the United States” to mean “the probable

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introduction of one or more persons capable of transmitting the quarantinable communicable disease

into the United States, even if persons or property in the United States are already infected or

contaminated with the quarantinable communicable disease.” Id. § 71.40(b)(3). The Final Rule also

explains that the regulatory definition does not require the CDC Director to make a numerical finding

or a quantitative or empirical showing of probability in order to prohibit the introduction of persons.

85 Fed. Reg. 56,446. Instead, the Director may make a qualitative determination that the introduction

of one or more persons capable of transmitting the quarantinable communicable disease is probable.

Id.
             In October 2020, CDC issued a new order pursuant to the regulation, superseding the prior

orders. See 85 Fed. Reg. 65,806 (Oct. 16, 2020). The following month, this Court preliminarily

enjoined the application of the October order to unaccompanied children. P.J.E.S. ex rel. Francisco v.

Wolf, 502 F. Supp. 3d 492 (D.D.C. 2020). The D.C. Circuit stayed the injunction pending appeal, see

P.J.E.S. v. Pekoske, No. 20-5357 (D.C. Cir. Jan. 29, 2021), but shortly thereafter, CDC temporarily

paused the expulsion of unaccompanied children under Title 42, see 86 Fed. Reg. 9942 (Feb. 17, 2021).

      III.      THE PRESIDENT’S EXECUTIVE ORDER AND CDC’S REASSESSMENT

             In February 2021, the President ordered the Secretary of Health and Human Services and the

CDC Director, in consultation with the Secretary of Homeland Security, to “promptly review and

determine whether termination, rescission, or modification of the [October order and the September

regulation] is necessary and appropriate.” Exec. Order No. 14,010, § 4(ii)(A), 86 Fed. Reg. 8,267,

8,269 (Feb. 2, 2021). By July 2021, CDC determined that it was appropriate to except unaccompanied

children from the October 2020 order given the COVID-19 mitigation measures in place for this

population. See 86 Fed. Reg. 38,717 (July 22, 2021) (“July Exception”). In August 2021, CDC

completed its “comprehensive reassessment of the October Order,” as directed by the Executive

Order, and issued a new order replacing and superseding the October order. 86 Fed. Reg. 42,828,

42,831 (Aug. 5, 2021) (“August 2021 order”). The August 2021 order incorporated the July Exception

by reference but determined that the public health conditions continued to require the order for

covered single adults and family units. Id. at 42,829 n.3. In reaching that conclusion, CDC considered,

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among other things, the “current status of the COVID-19 public health emergency and ongoing public

health concerns, including virus transmission dynamics, viral variants, mitigation efforts, the public

health risks inherent to high migration volumes, low vaccination rates among migrants, and crowding

of immigration facilities.” Id. at 42,840.

        Critically important to the August 2021 order was the rapid spread of the highly transmissible

Delta variant, id. at 42,832, which had increased COVID-19 cases by approximately 400% in the weeks

before the August order, id. at 42,831. “[H]ospitalization rates [were] once again soaring nationally,”

id. at 42,837, and there were “signs of distress” in the healthcare and community resources in the
southern regions of the United States, id. at 42,835. Although vaccines were widely available in the

United States, vaccination uptake had “plateaued,” slowing nationally with wide variations by state

(33.9% to 67.2%) and by county (8.8% to 89.0%). Id. at 42,8334 & n.55. And there was a rising

number of breakthrough infections. Id. at 42,832, 42,834. Moreover, countries of origin for the

majority of incoming covered noncitizens had “markedly lower vaccination rates.” Id. at 42,834 &

n.57. Because the risk of COVID-19 transmission was “acutely present in congregate settings,” where

“even a single asymptomatic case can trigger an outbreak,” id. at 42,833, there was “heightened risk of

morbidity and mortality” to unvaccinated covered noncitizens in the border facilities, id. at 42,834.

        CDC noted that while U.S. Customs and Border Protection (“CBP”) had attempted to

implement a variety of mitigation measures, those measures were insufficient because of space

constraints and because an ongoing surge in migrants had “caused CBP to exceed

COVID-constrained capacity and routinely exceed its non-COVID capacity.” Id. at 42,835. Various

other constraints also increased the amount of time covered noncitizens spent in the border facilities;

by August 2021, the average time spent at CBP facilities for family units was as long as 62 hours, which

“would likely increase significantly” in the absence of the August order. Id. at 42,836. Finally, CDC

differentiated unaccompanied children from single adults and family units because there was

“appropriate infrastructure in place to protect the children, caregivers and local and destination

communities,” id. at 42,838, concluding that while excepting that population would not pose a

“significant public health risk, the same [was] not true for [single adults] and [family units],” id.

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          CDC thereafter reassessed the August order every 60 days to determine its continued necessity

in light of the most current public health conditions. See id. at 42,830; AR23485–508, AR23514–17.

By the time of the second reassessment in late November 2021, the “sudden emergence of the

Omicron variant” led CDC to find that the August order continued to be necessary in the interest of

public health. 87 Fed. Reg. 19,941, 19,948 (Apr. 6, 2022) (termination order); see also AR23500.

Indeed, the United States recorded its highest seven-day moving average number of cases on January

15, 2022. 87 Fed. Reg. at 19,948.

    IV.      CDC’S TWO TERMINATION ORDERS
          In March 2022, the U.S. District Court for the Northern District of Texas preliminarily

enjoined the government from enforcing the July Exception and the August 2021 order “to the extent

that they except unaccompanied alien children from the Title 42 procedures based solely on their

status as unaccompanied alien children.” Texas v. Biden, --- F. Supp. 3d. ---, 2022 WL 658579, at *21

(N.D. Tex. Mar. 4, 2022). That court also stayed the injunction for seven days to allow the government

to seek emergency relief at the appellate level. Id. at *24. Before the injunction became effective,

CDC terminated all prior suspension orders to the extent they applied to unaccompanied children. 87

Fed. Reg. 15,243, 15,248 (Mar. 17, 2022). By this point, the most recent wave of the pandemic caused

by Omicron was “receding.” 87 Fed. Reg. at 19,947.

          On April 1, 2022, the CDC terminated the August 2021 order entirely, with an implementation

date of May 23, 2022. 87 Fed. Reg. at 19,942. CDC explained that the status of the COVID-19

pandemic was substantially different from the environment in which the August 2021 order or the

earlier suspension orders were issued. Among other things, there was “widespread population

immunity and a generally lower overall risk of severe disease due to the nature of the Omicron

variant.” Id. at 19,948. “While earlier phases of the pandemic required extraordinary actions by the

government and society at large,” CDC explained, “epidemiologic data, scientific knowledge, and the

availability of public health mitigation measures, vaccines, and therapeutics have permitted the country

to safely transition to more normal routines.” Id. Moreover, testing was widely used and available,

and a significant percentage of the population (including 86% of the CBP workforce on the U.S.-

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Mexico border) had been vaccinated.        Id. at 19,949, 19,951. There were also higher levels of

vaccination and infection-induced immunity globally as well as in the countries of origin for the current

majority of covered noncitizens. Id. at 19,952 & n.144. And since the August order, the Department

of Homeland Security (“DHS”) had worked with state, local, tribal, territorial, and non-governmental

partners to develop robust testing and quarantine programs along the southwest border. Id. at 19,951.

Furthermore, effective treatments for COVID-19 were more widely available, including oral antiviral

medications and a monoclonal antibody. Id. at 19,950 & nn.125, 127. Accordingly, CDC judged that

“although COVID-19 remains a concern, the readily available and less burdensome public health
mitigation tools to combat the disease render a [Title 42 order] … unnecessary.” Id. at 19,953. “At

this point in the pandemic,” CDC concluded, “the previously identified public health risk is no longer

commensurate with the extraordinary measures instituted by the CDC Orders.” Id.

         On May 20, 2022, the U.S. District Court for the Western District of Louisiana preliminarily

enjoined the termination order on the basis that CDC likely was required to conduct notice-and-

comment rulemaking in issuing the termination order but failed to do so. Louisiana v. CDC, --- F.

Supp. 3d. ---, No. 6:22-CV-00885, 2022 WL 1604901, at *22–23 (W.D. La. May 20, 2022). The

government has appealed that preliminary injunction, and briefing will be complete in September.

    V.       THIS LITIGATION

         Plaintiffs brought this suit in January 2021 on behalf of a putative class of noncitizen family

units to challenge CDC’s “Title 42 Process” or “Title 42 Policy,” which Plaintiffs characterized as

consisting of “a new regulation, several orders, and an implementation [DHS] memo.” See Compl.,

¶ 1, ECF No. 1; 1st Am. Compl., ECF No. 22; 2d Am. Compl., ECF No. 131. Plaintiffs thereafter

moved for a preliminary injunction on the grounds that Section 265 did not authorize expulsions and

that the Title 42 expulsions violated certain immigration laws affording humanitarian protections, ECF

No. 57, which covered the first five counts of the six-count complaint, see 2d Am. Compl. ¶¶ 77–106.

         In September 2021, this Court certified the class and preliminarily enjoined the application of

the “Title 42 Process”—defined by the Court as “the process developed by the CDC and implemented

by the August 2021 Order,” Huisha-Huisha v. Mayorkas, 560 F. Supp. 3d 146, 159 (D.D.C. 2021)—to

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the class. The Court found that the statute, 42 U.S.C. § 265, likely did not authorize the government

to expel noncitizens once they have crossed the border into the United States. Id. at 166–71; see also

ECF No. 122. The government appealed, and obtained a stay of the preliminary injunction pending

appeal. On March 4, 2022, the D.C. Circuit affirmed the preliminary injunction in part, holding that

Section 265 likely authorizes the expulsion of covered noncitizens, but that such expulsion may not

be “to places where [the noncitizens] will be persecuted or tortured.” Huisha-Huisha, 27 F.4th at 722.

The mandate was issued on May 23, 2022.

        Plaintiffs now move for partial summary judgment on Count VI of the operative complaint,
which alleges an arbitrary-and-capricious claim under the APA. See ECF Nos. 141, 141-1. Their

motion focuses on CDC’s August 2021 order, except that they also cite material concerning the March

2020 order.

                                    STANDARD OF REVIEW

        In actions under the APA, summary judgment is the mechanism for “deciding, as a matter of

law, whether the agency action is supported by the administrative record and otherwise consistent

with the APA standard of review.” Oceana, Inc. v. Locke, 831 F. Supp. 2d 95, 106, (D.D.C. 2011). In

such cases, the standard set forth in Rule 56 of the Federal Rules of Civil Procedure “does not apply

because of the limited role of a court in reviewing the administrative record.” Forest Cnty. Potawatomi

Cmty. v. United States, 330 F. Supp. 3d 269, 278 (D.D.C. 2018). Rather, “a federal district court sits as

an appellate tribunal to review the purely legal question of whether the agency acted” reasonably and

otherwise in accordance with the APA. Franks v. Salazar, 816 F. Supp. 2d 49, 55–56 (D.D.C. 2011).

                                            ARGUMENT

  I.    CDC’S PUBLIC HEALTH DETERMINATIONS UNDER SECTION 265 ARE
        UNREVIEWABLE
        As a threshold matter, Plaintiffs’ arbitrary-and-capricious claim is unreviewable because

Congress committed the decision to issue, modify, or terminate a Title 42 order to CDC’s discretion

by law. See 5 U.S.C. § 701(a)(2) (precluding review of decisions “committed to agency discretion by

law”). Although courts presume reviewability under the APA, review is generally unavailable in two


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circumstances. First, review is precluded for “administrative decisions that courts traditionally have

regarded as committed to agency discretion”—particularly judgments that “require[] a complicated

balancing of a number of factors which are peculiarly within [the agency’s] expertise” and “area[s] of

executive action in which courts have long been hesitant to intrude.” Lincoln v. Vigil, 508 U.S. 182,

191–93 (1993). Second, review is unavailable when “the relevant statute is drawn so that a court would

have no meaningful standard against which to judge the agency’s exercise of discretion.” Id. at 191.

        Although either one of these circumstances would be sufficient to preclude review, both are

present here. The CDC Director’s discretionary determination under Section 265 “involves a
complicated balancing of a number of factors which are peculiarly within the agency’s expertise.”

Lincoln, 508 U.S. at 191. While neither the statute nor the regulation requires the consideration of any

specific factors, the preamble to the Final Rule lists a number of facts and circumstances that CDC

“may, in its discretion,” consider when determining whether a Title 42 order is required in the interest

of public health in a particular situation. 85 Fed. Reg. at 56,444; see also id. (noting that CDC may

“consider a wide array of facts and circumstances”). The Title 42 orders consistently examined a range

of public health factors and evaluated how those factors impacted CBP’s border facilities and the

personnel and noncitizens in those facilities, including whether the impact varied by categories of

noncitizens. In issuing the operative August 2021 order, for example, CDC considered, among other

things, the manner of COVID-19 transmission, the emerging variants of the SARS–CoV–2 virus, the

risks specific to certain types of facilities or congregate setting, the availability of testing, vaccines and

other mitigation measures, and the impact on U.S. communities and healthcare resources. See, e.g., 86

Fed. Reg. at 42,831. It then judged those factors against the context of CBP’s processing of covered

noncitizens in the border facilities, including by different categories of noncitizens. The balancing of

various public health factors to determine whether a Title 42 order remained in the interest of the

public health directly implicates the agency’s scientific knowledge and expert judgment.

        Because these decisions require a complicated balancing of factors that are peculiarly within

the agency’s expertise, courts have traditionally given deference to public health officials when they

exercise their expert judgment to address public health emergencies. See, e.g., FDA v. American Coll. of

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Obstetricians & Gynecologists, 141 S. Ct. 578, 579 (2021) (Roberts, C.J., concurring in the grant of

application for stay) (noting deference owed “concerning government responses to the pandemic”);

S. Bay United Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J., concurring)

(explaining that the latitude “to guard and protect” “[t]he safety and the health of the people” “must

be especially broad” when acting “in areas fraught with medical and scientific uncertainties”); Marshall

v. United States, 414 U.S. 417, 427 (1974) (courts may not substitute their judgment for an agency’s “in

areas fraught with medical and scientific uncertainties”); Jacobson v. Massachusetts, 197 U.S. 11, 30 (1905)

(“[i]t is no part of the function of a court or a jury to determine” how best to protect the public from
a disease). Accordingly, the CDC Director’s determination under Section 265 is an administrative

decision that courts “traditionally have regarded as committed to agency discretion” and is thus

“unreviewable” under the APA. Lincoln, 508 U.S. at 191–93.

        The relevant statute is also drawn so that a court would have no meaningful standard against

which to judge the agency’s exercise of its discretion. Section 265 entrusts the decision whether to

issue a Title 42 order to the CDC Director’s judgment. If the Director determines that an order “is

required in the interest of the public health” to prevent the “serious danger” of “the introduction of

[a communicable] disease into the United States,” then the Director “shall have the power to prohibit,

in whole or in part, the introduction of persons and property from such countries or places as he shall

designate in order to avert such danger.” 42 U.S.C. § 265. Section 265 does not provide judicially

manageable standards to guide a court’s review of CDC’s determination; nor does it define what

constitutes a “serious danger” in this context. See 85 Fed. Reg. at 56,446 (noting that Congress “did

not explain when the danger of the introduction of a communicable disease becomes [serious]”).

Rather, the statute leaves the public health determination to the CDC Director’s expert judgment. 2

2
 In Louisiana v. CDC, ---F. Supp. 3d ---, 2022 WL 1604901, at *17 (W.D. La. May 20, 2022), the court
found that Section 265 provides “meaningful standards” to review the agency action because it “limits
the CDC’s authority to regulating ‘communicable’ diseases and, more importantly, requires the CDC
to exercise that discretion only when “required in the interest of public health.” Defendants
respectfully disagree with that ruling for the reasons explained herein. Again, the statute does not
explain what standards CDC must apply to determine that a Title 42 order would be “in the interest
of public health.”

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        Besides the lack of statutory standards to review the CDC Director’s exercise of discretion,

the statute also contains discretion-conferring language, providing that Title 42 orders should last

“only for such period of time as [the CDC Director] may deem necessary.” 42 U.S.C. § 265 (emphasis

added). The Supreme Court has “repeatedly observed” that “the word ‘may’ clearly connotes

discretion.” Biden v. Texas, 142 S. Ct. 2528, 2541 (2022). The D.C. Circuit has likewise recognized

that the word “deem” demonstrates that the “determination calls upon [an agency’s] expertise and

judgment unfettered by any statutory standard whatsoever.” Zhu v. Gonzales, 411 F.3d 292, 295 (D.C.

Cir. 2005); see also Webster v. Doe, 486 U.S. 592, 600-01 (1988) (termination decision committed to
agency discretion by law where the statute provided that termination was appropriate whenever the

agency director “shall deem such termination necessary or advisable in the interests of the United

States”).

        CDC’s regulation implementing Section 265—which Plaintiffs’ motion does not challenge—

makes clear the public health determination is left to the agency’s discretion. See 42 C.F.R. § 71.40(a)

(“The Director may prohibit, in whole or in part, the introduction into the United States of persons

from designated foreign countries (or one or more political subdivisions or regions thereof) or places,

only for such period of time that the Director deems necessary to avert the serious danger of the

introduction of a quarantinable communicable disease.” (emphasis added)). Although the regulation

“clarifies that the danger of introduction becomes serious when one or more additional persons

capable of disease transmission would more likely than not be introduced into the United States,” the

preamble to the Final Rule also makes clear that this regulatory definition does not require the Director

to make “a numerical finding or a quantitative or empirical showing of probability in order to prohibit

the introduction of persons.” 85 Fed. Reg. at 56,445. Rather, “[t]he Director may make a qualitative

determination, based on the known facts and circumstances, that the introduction of one or more

persons capable of transmitting the quarantinable communicable disease is probable.” Id. (emphasis

added). The statute and regulation thus lack any “meaningful standard” against which to judge the

CDC Director’s exercise of discretion. Lincoln, 508 U.S. at 191; see also Sierra Club v. EPA, No. 20-

1121, --- F. 4th ---, 2022 WL 3694866, at *6 (D.C. Cir. Aug. 26, 2022) (EPA’s decision whether to

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make and publish a finding of nationwide scope or effect was committed to agency discretion because

statute offered “no meaningful standard” against which to judge EPA’s decision); Sierra Club v. Jackson,

648 F.3d 848, 856 (D.C. Cir. 2011) (EPA Administrator’s determination whether to prevent

construction of facility was unreviewable because the statute provided “no guidance” to reviewing

court); United States v. Simmons, No. CR 18-344 (EGS), 2022 WL 1302888, at *11 (D.D.C. May 2, 2022)

(Sullivan, J.) (collecting cases holding that agency action was committed to agency discretion by law). 3

The CDC Director’s determination under Section 265 “is accordingly unreviewable under [5 U.S.C.]

§ 701(a)(2).” Lincoln, 508 U.S. at 193.

    II.   PLAINTIFFS’ ARBITRARY AND CAPRICIOUS CHALLENGE FAILS AS A
          MATTER OF LAW
          A. This Court’s Review of CDC’s Decision Is Highly Deferential

          Judicial review under the APA’s arbitrary-and-capricious standard is “highly deferential.”

Zevallos v. Obama, 793 F.3d 106, 112. “[A] court may not substitute its own policy judgment for that

of the agency,” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021), and “is not to ask whether

[an agency’s] decision is the best one possible or even whether it is better than the alternatives,” FERC

v. Elec. Power Supply Ass’n, 136 S. Ct. 760, 782 (2016). Rather, a court “simply ensures that the agency

has acted within a zone of reasonableness and, in particular, has reasonably considered the relevant

issues and reasonably explained the decision.” Prometheus Radio Project, 141 S. Ct. at 1158. Even if the

agency decision is “of less than ideal clarity,” it must be upheld “if the agency’s path may reasonably

be discerned.” Motor Vehicle Mfrs. Ass’n of United States, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

29, 43 (1983). The court only considers “whether there has been a clear error of judgment.” Id.

3
  In Texas v. Biden, --- F. Supp. 3d. ---, 2022 WL 658579, at *11 (N.D. Tex. Mar. 4, 2022), the court
found that the August order was reviewable because 42 C.F.R. § 71.40(c) purportedly “establishe[d]
the parameters the CDC must consider.” The provision, however, merely lists information that the
Director must specify in a Title 42 order, see 42 C.F.R. § 71.40(c)(1)-(5), including the
“countries … from which the introduction of persons shall be prohibited,” id. § 71.40(c)(1), and “[t]he
period of time or circumstances under which the introduction of any persons … shall be prohibited,”
id. § 71.40(c)(2). That information plainly is designed to inform the public of the CDC Director’s
invocation of Section 265 authority and the precise scope of the Title 42 order, not to inform how the
Director should exercise her discretion, let alone what factors to consider in issuing a Title 42 order.
Accordingly, the provision does not provide a meaningful standard against which to judge the
Director’s exercise of discretion in issuing a Title 42 order.
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        This deference to the agency is heightened in cases such as this one, which calls for the

application of scientific and technical expertise. Courts “give an extreme degree of deference to the

agency when it is evaluating scientific data within its technical expertise,” West Virginia v. EPA, 362

F.3d 861, 871 (D.C. Cir. 2004), for a court “cannot decide … whether technical evidence beyond [its]

ken supports the proposition it is asserted to support,” Simpson v. Young, 854 F.2d 1429, 1434 (D.C.

Cir. 1988). Cf. South Bay United Pentecostal Church, 141 S. Ct. at 716 (Roberts, C.J., concurring in the

partial grant of application for injunctive relief) (“[F]ederal courts owe significant deference to

politically accountable officials with the background, competence, and expertise to assess public
health.”). Moreover, where, as here, an agency’s decision involves predictive judgments, the court’s

review is likewise “particularly deferential.” Rural Cellular Ass’n v. FCC, 588 F.3d 1095, 1105 (D.C. Cir.

2009); see also FCC v. Nat’l Citizens Comm. for Broad., 436 U.S. 775, 813–14 (1978); EarthLink, Inc. v.

FCC, 462 F.3d 1, 12 (D.C. Cir. 2006).

        Importantly, in evaluating CDC’s August 2021 order, the Court considers only the material

that was before the CDC Director at the time of that order, not the facts and circumstances as they

exist today, because “the focal point for judicial review” is the administrative record that was before

the agency at the time of the decision. Camp v. Pitts, 411 U.S. 138, 142 (1973) (per curiam); see also

Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2573 (2019) (“[I]n reviewing agency action, a court is

ordinarily limited to evaluating the agency’s contemporaneous explanation in light of the existing

administrative record.”); accord IMS, P.C. v. Alvarez, 129 F.3d 618, 623–24 (D.C. Cir. 1997). “If a court

is to review an agency’s action fairly, it should have before it neither more nor less information than

did the agency when it made its decision.” Water O. Boswell Mem’l Hosp. v. Heckler, 749 F.2d 788, 792

(D.C. Cir. 1984).

        B. The August 2021 Order Was the Result of Reasoned Decisionmaking

        Here, the administrative record amply demonstrates that the August 2021 order satisfies the

highly deferential standard of review and is the result of reasoned decisionmaking. In issuing the

order, CDC comprehensively examined the following public health factors: “(1) [t]he manner of

COVID-19 transmission, including asymptomatic and pre-symptomatic transmission; (2) the

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emerging variants of [COVID-19]; (3) the risks specific to the type of facility or congregate setting;

(4) the availability of testing and vaccines and the applicability of other mitigation efforts; and (5) the

impact on U.S. communities and healthcare resources.” 86 Fed. Reg. 42,832–42,835; see, e.g., AR3975

(CDC, Emerging Infectious Diseases, Transmission Dynamics of Severe Acute Respiratory Syndrome

Coronavirus 2 in High-Density Settings, Minnesota, USA, March-June 2020, Aug. 2021); AR3186

(CDC, SARS-CoV-2 Transmission, May 7, 2021); AR3154 (CDC, SARS-CoV-2 and Surface Fomite

Transmission for Indoor Community Environments, Apr. 5, 2021); AR4020 (JAMA, SARS-CoV-2

Transmission from People Without COVID-19 Symptoms, Jan. 7, 2021); AR2905 (CDC, Update on
Emerging SARS-CoV-2 Variants and COVID-19 Vaccines, June 29, 2021); AR2585 (CDC, Morbidity

and Mortality Weekly Report, COVID-19 Vaccination Coverage Among Adults—United States,

December 14, 2020-May 22, 2021, June 25, 2021); AR7070 (CDC, COVID-19 Daily Update, July 21,

2021); AR7463 (CDC, COVID Data Tracker Weekly Review, Interpretive Summary for July 30, 2021);

AR22347 (CDC, Community Profile Report, July 26, 2021). CDC then evaluated the impact of those

factors on CBP’s immigration processing at border facilities and on the personnel and noncitizens in

those facilities, including assessing whether those impacts varied by category of noncitizens. 86 Fed.

Reg. at 42,831, 42,835–42,838.

        Of “critical significance” for the August 2021 order was the rapid spread of the Delta variant.

Id. at 42,832. “[M]ore than two times as transmissible as the original strains of [the virus],” id. at

42,834, the Delta variant “[had] driven a stark increase in COVID–19 cases, hospitalizations, and

deaths,” with cases increasing by approximately 400% in the weeks before the August order. Id. at

42,831; see also id. (noting that the Delta variant, along with other variants of concern, could cause

“more severe disease”); see, e.g., AR3501 (Morbidity and Mortality Weekly Report, Guidance for

Implementing COVID-19 Prevention Strategies in the Context of Varying Community Transmission

Levels and Vaccination Coverage, July 30, 2021). “[B]oth the United States and Mexico [were]

experiencing high or substantial incidence rates.” 86 Fed Reg. at 42,831. Over 70% of the U.S.

counties along the U.S.-Mexico border were experiencing “high or substantial levels of community

transmission.” Id. at 42,834; see, e.g., AR7138 (CDC, COVID Daily Update, July 28, 2021).

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        Although vaccines were widely available in the United States for those 12 years of age and

older and provided significant protection against COVID-19, there was a rising number of

breakthrough infections. 86 Fed. Reg. at 42,832, 42,834. “[E]merging evidence” further “suggested

that fully vaccinated persons who do become infected with the Delta variant are at risk for transmitting

it to others.” Id. at 42,833. Moreover, vaccination uptake had “plateaued, particularly in those under

the age of 65 years,” which, in combination “with the extreme transmissibility of the Delta variant has

resulted in rising numbers of COVID-19 cases, primarily and disproportionately affecting the

unvaccinated population.” Id. at 42,834. CDC forecasted increased hospital admissions in the coming
weeks, and noted “worrisome trends in healthcare and community resources,” including “[s]igns of

stress” already present in the southern regions of the United States. Id. at 42,835; see, e.g., AR16029

(CDC, COVID-19 Response Update Report, July 22, 2021). As CDC recognized, “the flow of

migration directly impacts not only border communities and regions, but also destination communities

and healthcare resources of both.” 86 Fed. Reg. at 42,835.

        The Title 42 order, of course, is specifically focused on congregate settings in CBP’s border

facilities. Because the spread of COVID-19 is more likely when people are “in close contact with one

another … especially in crowded or poorly ventilated indoor settings,” 86 Fed. Reg. at 42,832, CDC

assessed that “the risk [of transmission] is acutely present in congregate settings,” id. at 42,833.

“[E]ven a single asymptomatic case can trigger an outbreak that may quickly exceed a facility’s capacity

to isolate and quarantine residents.” Id. CDC noted that in the border facilities, noncitizens

undergoing immigration processing at CBP facilities typically are held in close proximity to one

another “anywhere from several hours to several days.” Id. at 42,835; see also 85 Fed Reg. at 17,066

(noting that “a typical Border Patrol station is designed to temporarily hold a maximum of 150 to 300

people standing shoulder-to-shoulder,” and has only between two to five separate holding areas for

to segregating noncitizens based on demographic factors such as age, gender, and family status, as

required by law). Although CBP had sought to enhance physical distancing and COVID-19 cohorting

of noncitizens in the border facilities (in addition to complying with existing cohorting requirements),

there was a migratory surge of noncitizens entering the country at that time, which caused CBP to

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exceed its COVID-constrained capacity and even its non-COVID capacity. 86 Fed. Reg. at 42,835,

42,836 n.79. This “extreme population density and the resulting increased time spent in custody by

noncitizens,” combined with the other factors described above, presented a “serious risk of increased

COVID-19 transmission in CBP facilities” at that time. Id. at 42,836.

        Other constraints also increased the risk of transmission in border facilities. For example,

only a “limited number” of family units could be transferred to Family Staging Centers operated by

the U.S. Immigration and Customs Enforcement, whose capacity was limited by COVID-19

mitigation protocols. Id. Although other family units could be released to communities, CDC had to
factor in the capacity of state and local agencies and non-governmental organizations (“NGOs”)

partnered with DHS to provide testing, vaccination where possible, and consequence management

(e.g., facilities for isolation and quarantine). Id. But those partners’ resources were “limited,” “already

stretched thin, and certainly not available for all [family units] who would be processed under Title 8

in the absence of [a Title 42 order].” Id. In addition, foreign governments have imposed restrictions

on the United States’ ability to expel certain family units to their countries, further adding to the

congestion at border facilities. Id. CDC found that the average time spent at CBP facilities for family

units was as long as 62 hours, which “would likely increase significantly” in the absence of the August

order. Id. at 42,837. As CDC noted, normal immigration processing under Title 8 of the U.S. Code

of a noncitizen can take up to eight times as long as Title 42 processing. Id.

        CDC also considered the availability of mitigation measures at CBP’s border facilities. It

recognized that CBP had implemented a variety of mitigation efforts to prevent the spread of COVID-

19, including by investing in engineering upgrades, adhering to CDC guidance on cleaning and

disinfection, and providing masks and Personal Protective Equipment to CBP personnel. Id. at

42,835. But on-site testing was “very limited,” and CBP could not appropriately minimize spread or

transmission of COVID-19 within its facilities due to space constraints. Id. at 42,837. “Of particular

note,” the CDC explained, border facilities “are ill-equipped to manage an outbreak” and are “heavily

reliant on local healthcare systems for the provision of more extensive medical services to

noncitizens.” Id. CDC assessed that “[t]ransfers to local healthcare systems for care could strain local

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or regional healthcare resources,” particularly given that “hospitalization rates [were] once again

soaring nationally” due to the Delta variant. Id. Yet, “[e]nsuring the continued availability of

healthcare resources is a critical component of the federal government’s overall public health response

to COVID-19.” Id.

        The concern about COVID-19 transmission in border facilities was magnified also because,

at the time, countries of origin for the majority of incoming covered noncitizens had “markedly lower

vaccination rates.” Id. at 42,834; see id. at 42,834 n.57 (noting fully vaccinated rates ranging from 1.6%

to 22% for the top five countries of origin for covered noncitizens). Thus, in CDC’s expert judgment,
there was a “heightened risk of morbidity and mortality” to covered noncitizens in the border facilities

“due to the congregate holding facilities at the border and the practical constraints on implementation

of mitigation measures in such facilities.” Id. CDC further concluded that “[o]utbreaks in these

settings [would] increase the serious danger of further introduction, transmission, and spread of

COVID-19 and variants into the country.” Id.

        Finally, CDC differentiated unaccompanied children from single adults and family units in

light of the government’s “greater ability to care for [unaccompanied children] while implementing

appropriate COVID-19 mitigation measures.” Id. at 42,837-38; see also July Exception, 86 Fed. Reg.

38,717 (discussing the infrastructure in place to care for unaccompanied children). Importantly,

unaccompanied children are released to a sponsor only after having undergone testing, quarantine

and/or isolation, and vaccination when possible, and their sponsors are provided with appropriate

medical and public health direction. 86 Fed. Reg. at 42,838. CDC judged that there was a “very low

likelihood” that processing unaccompanied children under Title 8 would result in an “undue strain on

the U.S. healthcare systems or healthcare resources.” Id. As a result, CDC reasonably concluded that

unaccompanied children could be excepted from the order “without posing a significant public health

risk,” while “the same [was] not true for [single adults] and [family units].” Id. CDC then “considered

various possible alternatives (including but not limited to terminating the application of [a Title 42

order] for some or all [single adults] or [family units] … ),” id. at 42,838, but ultimately determined

that single adults and family units should continue to be subject to the August order “pending further

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improvements in the public health situation,” id. at 42,837, and “greater ability to implement COVID-

19 mitigation measures in migrant holding facilities,” id. at 42,838.

        In challenging CDC’s conclusion as arbitrary and capricious, Plaintiffs ask the Court to

consider events that post-date the agency’s decision. See Br. at 12–13 (discussing CBP’s efforts in

March 2022 related to Ukrainians fleeing Russian aggression, and CDC’s April 2022 termination

order). Under basic administrative law, however, the Court may not take into account the evolving

public health conditions following the August 2021 order in assessing whether the order itself was

arbitrary and capricious when issued. See Boswell Mem’l Hosp., 749 F.2d at 792 (noting that in analyzing
agency action, courts “should have before it neither more nor less information than did the agency

when it made its decision”). Plaintiffs’ reliance on subsequent events, therefore, is unavailing.

Plaintiffs also seek to rely on the D.C. Circuit’s March 2022 decision on the government’s appeal of

this Court’s preliminary injunction, see Br. at 10, in which the D.C. Circuit noted that “CDC’s § 265

order look[ed] in certain respects like a relic from an era with no vaccines, scarce testing, few

therapeutics, and little certainty.” Huisha-Huisha, 27 F.4th at 734. But Plaintiffs take the D.C. Circuit’s

comment out of context. The D.C. Circuit’s decision was focused on assessing CDC’s statutory

authority to expel noncitizens under the August order, not the rationale behind the August order. The

court’s comment on the August order being a “relic” was made in the context of its balance-of-the-

equities analysis and was comparing the August order to the public health situation in “March 2022.”

Id. The D.C. Circuit’s comment therefore is inapposite to the question whether the August order is

arbitrary and capricious at the time it was issued. On that question, Plaintiffs ask the Court to

substitute their own judgment for that of the agency’s expert public health determination. As

discussed below, their arguments have no merit.

        C. CDC’s Title 42 Orders Are Not Subject to any “Least Restrictive Means” Standard

        Plaintiffs argue that the August 2021 order is arbitrary and capricious because CDC allegedly

“disregarded” a purportedly “established policy” of using the “least restrictive means” to prevent the

spread of communicable diseases. Br. at 5–10. This argument fails for at least two reasons: (1) CDC’s

Title 42 orders are not subject to the “least restrictive means” standard, and (2) even if they were, the

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August order was the “least restrictive means” available to “avert the serious danger of the

introduction of a quarantinable communicable disease” into the United States, 42 C.F.R. § 71.40(a).

        First, Plaintiffs are incorrect that CDC has adopted a “least restrictive means standard” that

governs the use of any and all public health measures. They cite a 2017 Final Rule that amended

CDC’s quarantine regulations issued under 42 U.S.C. § 264, including regulations authorizing the

apprehension, detention, and physical examination of individuals, including citizens. See Control of

Communicable Diseases, 82 Fed. Reg. 6890, 6968–6978 (Jan. 19, 2017); see also 42 C.F.R. § 70.15(c); id.

§ 71.38(c). 4 In that Final Rule, CDC stated that it would “seek to use the least restrictive means

necessary to prevent the spread of communicable disease” in “implementing quarantine, isolation, or

other public health measures under this Final Rule.” Id. at 6890 (emphasis added). Thus, the Final Rule

amended CDC regulations to provide that when the CDC Director issues an order requiring the

quarantine of an individual, for example, the Director must reassess within 72 hours whether the

quarantine remains necessary or whether “less restrictive alternatives would adequately serve to

protect the public health.” 42 C.F.R. § 70.15(c). The requirement to use the least restrictive means

was appropriate in the context of quarantine and isolation, including of citizens, because such

measures often implicate liberty interests protected by the Due Process Clause. See, e.g., 82 Fed. Reg.

at 6900 (discussing due process concerns).

        But the 2017 Final Rule did not “establish” a blanket policy of applying “least restrictive

means” to any public health measures designed to prevent the spread of a communicable disease. Br.

at 5. To the contrary, CDC routinely implements such measures without regard to the “least restrictive

means.” For example, CDC has issued regulations governing medical examinations of certain

noncitizens seeking to enter the United States without applying a “least restrictive means” analysis.

See, e.g., Medical Examination of Aliens—Revisions to Medical Screening Process, 73 Fed. Reg. 58047 (Oct. 6,

2008); see also 42 C.F.R. part 34. Similarly, when issuing orders requiring a negative pre-departure


4
 Although the 2017 Final Rule also cites Section 265 as statutory authority, the regulations adopted
by the Final Rule based on Section 265 do not contain a “least restrictive means” standard. See, e.g.,
42 C.F.R. § 71.63 (regulation regarding suspension of entry of animals, articles, or things from
designated foreign countries).
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COVID-19 test result or documentation of recovery from COVID-19 for all airline or other aircraft

passengers arriving into the United States from any foreign country, CDC did not apply a “least

restrictive means” test. See, e.g., 86 Fed. Reg. 69,256 (Dec. 7, 2021); 85 Fed. Reg. 86,933 (Dec. 31,

2020). Nor did CDC apply such a standard when it issued orders requiring persons to wear masks

when traveling on any conveyance (i.e., various modes of transportation) into or within the United

States. See, e.g., 86 Fed. Reg. 8025 (Feb. 3, 2021).

        The August order was issued pursuant to 42 U.S.C. § 265 and implementing regulations at 42

C.F.R. § 71.40—distinct authorities from those governing the relevant portion of the 2017 Final Rule.
Nor is it a quarantine or isolation order applicable to citizens. See Dep’t of Homeland Sec. v. Thuraissigiam,

140 S. Ct. 1959, 1983 (2020) (due process rights of noncitizen seeking entry are limited to “only those

rights regarding admission that Congress has provided by statute”). Thus, the “least restrictive means”

standard is inapplicable. 5

        In any event, CDC’s August 2021 order ultimately was in fact the least restrictive means

available to prevent the further introduction of COVID-19 into the United States at the borders at

the time it was issued. Section 265 authorizes the CDC Director to issue a Title 42 order only where

“necessary” to prevent the “serious danger” of the introduction of a communicable disease into the

United States. 42 U.S.C. § 265. As discussed above, the August 2021 order explains in detail why that

5
  To be sure, as a matter of best public health practices, scientists at the CDC may strive to avoid
imposing public health measures that are more restrictive than necessary. For example, Plaintiffs note
that in a 2005 paper, Dr. Martin Cetron, the former director of CDC’s Division of Global Migration
and Quarantine, endorsed the view that pandemic responses “should be proportional, necessary,
relevant, equitably applied, and done by least restrictive means.” Br. at 9 n.7 (quoting Martin Cetron
et al., Public Health and Ethical Considerations in Planning for Quarantine, 78 Yale J. of Biology & Med. 325,
329 (Oct. 2005), https://perma.cc/MAM9-38AS). But that paper—which predates the COVID-19
pandemic by almost two decades—references using “least restrictive means” in the context of
“recommendations” developed by the Toronto Joint Centre for Bioethics. 78 Yale J. of Biology &
Med. at 329. Plaintiffs also note that CDC referenced “least restrictive means” in a “Public Health
Law 101” course. Br. at 7. But, again, the course mentioned the principle in the context of an “ethics
guide” for public health decisionmaking. See CDC, Public Health Law 101: A CDC Foundational Course
for Public Health Practitioners, at 24 (Jan. 16, 2009), https://perma.cc/FUE5-WK5G. That is, the use of
“least restrict means” is an aspirational goal that must be assessed in context of the specific public
health threats and countermeasures at issue. In any event, contrary to Plaintiffs’ argument, these
public health best practices do not constitute an “established policy” that CDC may not “depart from”
without explanation. See Br. at 5 (quoting FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009)).
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statutory standard was met and why various other alternatives were unavailable or inadequate. It was

not until April 2022 that CDC assessed that “the previously identified public health risk is no longer

commensurate with the extraordinary measures instituted by the CDC Orders.” 87 Fed. Reg. at

19,951.     As CDC explained in April 2022, “[w]hile earlier phases of the pandemic required

extraordinary actions by the government and society at large, epidemiologic data, scientific knowledge,

and the availability of public health mitigation measures, vaccines, and therapeutics have permitted

the country to safely transition to more normal routines.” Id. at 19,948. “[A]lthough COVID–19

remains a concern,” CDC judged that “the readily available and less burdensome public health
mitigation tools to combat the disease render a [Title 42 order] … unnecessary.” Id. at 19,953.

          Further, where less restrictive means were available prior to the April 2022 termination order,

CDC used them. CDC did not extend its August 2021 order to unaccompanied children, explaining

that the government had a greater ability to care for such children so that there was a “very low

likelihood” that processing them under Title 8 would unduly strain healthcare resources. 86 Fed. Reg.

42,838. As to family units, CDC noted that releasing families to communities would necessitate robust

testing and vaccination by partner agencies and organizations whose resources were already “stretched

thin” and “certainly not available for all [family units] who would be processed under Title 8 in the

absence of [a Title 42 order].” Id. at 42,836. Still, the August order allowed for “case-by-case

exceptions based on the totality of the circumstances where appropriate,” including for humanitarian

reasons. Id. at 42,840–41. Under this case-by-case humanitarian exception, CBP officers have

excepted tens of thousands of individuals from the August order. See, e.g., Defs.’ Monthly Data Report

at 6, ECF No. 154, Louisiana v. CDC, No. 22-cv-00885 (W.D. La. Aug. 16, 2022) (reporting 11,574

humanitarian exceptions across six ports of entry in July 2022). Thus, while CDC may not have

expressly used the term “least restrictive means,” the substance of CDC’s August order makes clear

that CDC did, in practice, issue an order that was in fact the least restrictive means available to protect

the country form further introduction, transmission, and spread of COVID-19. See also Section II.D,

infra (discussing other alternatives that CDC considered). Accordingly, any alleged failure in not

expressly citing the “least restrictive means” standard was at most a harmless error and cannot serve

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as a basis to invalidate the August order. See Zevallos, 793 F.3d at 115; 5 U.S.C. § 706 (courts shall take

“due account … of the rule of prejudicial error”).

        In contending otherwise, Plaintiffs principally rely on extra-record excerpts of a congressional

interview with Dr. Anne Schuchat, a former Principal Deputy Director of CDC. See Br. at 8.

Specifically, Plaintiffs cite Dr. Schuchat’s statements that CDC “typical[ly]” uses the “least restrictive

means possible” when “exert[ing] a quarantine order versus other measures.” Decl. of Ming Cheung,

Ex. A at 28, ECF No. 144-3; see also Br. at 6 (noting that CDC sought to use the least restrictive means

when deciding whether to quarantine individuals during the 2014–2016 Ebola epidemic). Even if this
Court could appropriately consider such extra-record material in this APA case—which it cannot, see

SEC v. Chenery Corp., 318 U.S. 80, 87 (1943)—the excerpts do not call into doubt the rationality of

CDC’s decisionmaking in the August 2021 order. As noted above, the August order is not a quarantine

order. It is a public health measure that prevents the introduction of a communicable disease into the

United States by temporarily suspending the right to introduce noncitizens from a foreign country

into the United States. Orders suspending entry are distinct from quarantine orders, which can

implicate constitutionally protected liberty interests.

        Plaintiffs next cite Dr. Schuchat’s statement that, in her view, CDC’s March 2020 order

“wasn’t based on a public health assessment at the time.” Br. at 8. But in that same answer, Dr.

Schuchat acknowledged that she “d[id]n’t have knowledge about the final decision” and “wasn’t

familiar with” the decisionmaking process that led to the March order. Cheung Decl., Ex. A at 27.

Moreover, Dr. Schuchat was discussing only the March 2020 order and not any subsequent orders,

including the operative August 2021 order at issue here. See id. at 27–28. Thus, the interview excerpts

on which Plaintiffs rely are irrelevant to the question whether the August order is arbitrary and

capricious. The August 2021 order sets forth CDC’s reasons for the order, explaining why the CDC

Director believed the order was necessary and thus why other alternatives were unavailable. Those

reasons are entitled to a “presumption of regularity,” Biden v. Texas, 142 S. Ct. 2528, 2546 (2022); see




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also Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 415 (1971), and must be upheld because

they are supported by the administrative record. 6

        Accordingly, Plaintiffs have not shown that CDC acted arbitrarily and capriciously with

respect to the “least restrictive means” standard. The standard is inapplicable here, and even if it were,

the administrative record shows that the operative August 2021 order was necessary in the interest of

the public health, and, thus, was the least restrictive means to achieve the statutory purpose.

        D. CDC Considered Available Alternatives Before Issuing the August Order
        Plaintiffs argue that Defendants failed to consider “obvious alternatives” to issuing the August

2021 order, such as “instituting testing, vaccination, and quarantine protocols,” 7 Br. at 10, outdoor
processing, and self-quarantining, id. at 14. But Plaintiffs’ Motion does not identify any available

alternative that was not considered by CDC. Rather, Plaintiffs argue that CDC failed to “adequately

consider alternatives to the drastic Title 42 policy,” meaning CDC had considered the alternatives; just

not the way Plaintiffs would have. Id. (emphasis added). Under basic administrative law, however,

the Court may not “ask whether [an agency’s] decision is the best one possible or even whether it is

better than the alternatives.” Elec. Power Supply Ass’n, 136 S. Ct. at 782.

        In any event, CDC fully considered the availability of other mitigation measures, see, e.g., 86

Fed. Reg. at 42,833 (section entitled, “Availability of Testing, Vaccines, and Other Mitigation

Measures”), and concluded that there were no viable alternatives at that time to sufficiently mitigate
the risk of spread of COVID-19. For example, CDC noted that “[o]n-site COVID-19 testing for

noncitizens at CBP holding facilities [was] very limited,” and while off-site testing was potentially

available, the noncitizen would have to be transported to community healthcare facilities for medical

care, and if local protocols permitted, the noncitizen would then receive testing at such facilities. Id.

6
  Although Plaintiffs assert that the March 2020 order was the product of “political pressure” and was
initiated for purposes unrelated to public health, Br. at 8, Plaintiffs have also expressly disclaimed any
reliance on allegations of pretext in support of their motion, see Br. at 4 n.1.
7
 Even Plaintiffs recognize that the public health circumstances underlying the March 2020 order was
entirely different. See Br. at 11 (recognizing that the Title 42 policy was justified in March 2020 as an
“emergency measure at a time when there was ‘no vaccine,’ ‘no rapid test,’ and no ‘approved
therapeutics.’” (quoting 85 Fed. Reg. at 17,062)).
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at 42,837. CDC also recognized that “vaccination programs [were] not available at th[at] time.” Id. at

42,840. In fact, DHS did not begin initiating a vaccination program until the Spring of 2022. See 87

Fed. Reg. at 19,955-56. Plaintiffs themselves admit that CBP was “not testing or vaccinating the

migrants who came into its custody” in August 2021. Br. at 12. Plaintiffs argue that CBP’s rationale

for not doing so is “unexplained,” id., but CDC must base its decision on the operational reality, not

hypothetical circumstances.

        Also unavailable as an alternative mitigation measure in this context was the use of

therapeutics. As CDC explained in the April 2022 termination order, although therapeutic treatments
in the form of monoclonal antibodies were available in August 2021, their use was not as widespread

in August 2021, they were cumbersome to administer, and there were not as many varieties of

treatments available. 87 Fed. Reg. at 19,950. Outdoor processing similarly was unavailable in August

2021. Plaintiffs cite to extra-record statements from Secretary Mayorkas in April 2022 that DHS

would be employing soft-sided facilities and virtual processing. Br. at 13 & n.10, 14. The statements,

however, only serve to show that those measures were not in place in August 2021 and could not have

been a viable alternative.

        As for federal quarantine, CDC made clear from its first Title 42 order that it “lacks the

resources, manpower, and facilities to quarantine covered aliens” and must rely on the “Department

of Defense, other federal agencies, and states and local governments to provide both logistical support

and facilities for federal quarantines.” 85 Fed. Reg. at 17,067 n.66. Early in the pandemic, CDC

learned valuable lessons regarding the feasibility of large-scale quarantine operations when it

quarantined U.S. citizens repatriated from China and cruise ship travelers. See 85 Fed. Reg. at 56,426.

Together, these two efforts constitute the largest quarantine operation in U.S. history. Id. at 56,433.

The operational challenges observed during that operation—including locating or constructing

physical facilities, arranging necessary staffing, providing required medical and legal assistance to

quarantined individuals, and identifying funding—demonstrated to CDC that a similar program could

not be undertaken at the border. Id. CDC recognized these lessons learned in the preamble to the

Final Rule implementing Section 265, noting that “Federal quarantine and isolation … may be scalable

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and effective for hundreds of persons, but not thousands of them,” and “[e]ven then, Federal

quarantine and isolation require substantial resources and are not sustainable for extended periods of

time.” Id.

        As for self-quarantine and self-isolation, Plaintiffs admit that CDC considered this option in

the Final Rule. See Br. at 15 (citing 85 Fed. Reg. at 56,453). They nevertheless argue that CDC

overlooked the availability of noncitizens self-quarantining in the homes of friends and family or in

shelters. But CDC did consider those options. CDC “assume[d] that many covered [noncitizens]

have family or close friends in the United States,” but did not believe that such family or close friends
would have personal residences available to the noncitizens for self-quarantine or self-isolation in a

manner that complied with HHS/CDC guidelines. 85 Fed. Reg. at 56,453. Plaintiffs call this “rank

speculation,” Br. 15, but that simple assertion is insufficient to show that CDC’s assessment was

unreasonable.

        Nor were shelters a reasonable “backstop,” as Plaintiffs suggest. Br. at 15. Plaintiffs argue

that “community and faith-based organizations … were available to provide shelter and quarantine to

those who may lack a place to quarantine,” citing a “April 23, 2019 [sic]” letter from a legal services

organization indicating the existence of such resources. Br. at 15 (citing AR 30). But in the August

order, CDC noted the assistance of DHS’s state, local and NGO partners and concluded that their

resources were “limited,” “already stretched thin and certainly not available for all [family units] who

would be processed under Title 8 in the absence of an order issued under [Title 42].” 86 Fed. Reg. at

42,83. As for Plaintiffs’ citation to certain self-quarantine options permitted by Europe and Canada,

see Br. at 15, the record demonstrates that such options were extremely limited in both regions to

specific eligible travelers, see 85 Fed. Reg. at 56,434–37, and that policies employed by both Europe

and Canada “reinforce[d] the Director’s view that [the Title 42] final rule is an important tool for

protecting public health in the United States,” id. at 56,435.

        Moreover, CDC had already assessed that the “implementation of a self-quarantine or self-

isolation protocol … would consume undue HHS/CDC and CBP resources without averting the

serious danger of the introduction of COVID-19 into CBP facilities.” 85 Fed. Reg. at 56,453; see also

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85 Fed. Reg. at 17,067 (discussing that the public health tool of conditional release was not viable

because “CDC lacks the resources and personnel necessary to effectively monitor such a large number

of persons”). As CDC explained, “if the persons arriving into the United States must first spend time

in congregate settings,” such as CBP’s border facilities, then by the time of the isolation, the disease

may already have been spread to other travelers and government personnel, who may in turn spread

to the domestic population. 85 Fed. Reg. at 56,426.

        In the end, Plaintiffs’ arguments about alternative mitigation measures are premised on the

idea that the government should have done more. Plaintiffs argue that by August 2021, the
government had had “more than enough time to institute alternatives to expulsion,” including building

out quarantine and processing capacity. Br. at 12. They also seek to rely on a CDC memo from

November 2021 in which CDC noted that DHS had not “developed a plan for the resumption of

normal border operations in the event of termination of the August order,” AR23494. See Br. at 13–

14. And they generally argue that Defendants should have created infrastructure to protect against

COVID-19 for covered family units as they did for unaccompanied children. See Br. at 13. But

Plaintiffs cannot ask the Court to compel Defendants to operate in the manner of Plaintiffs’ choosing.

Plaintiffs did not assert a “failure to act” claim under 5 U.S.C. § 706(1), and understandably so, because

they cannot make the required showing that Defendants “failed to perform a non-discretionary duty

to act”—i.e., a “ministerial or non-discretionary” duty amounting to “a specific, unequivocal

command,” Norton v. S. Utah Wilderness All., 542 U.S. 55, 63, 64 (2004); see also Anglers Conservation

Network v. Pritzker, 809 F.3d 664, 670 (D.C. Cir. 2016) (“Section 706(1) permits judicial review of

agency inaction but only within strict limits.”); Elec. Privacy Info. Ctr. v. IRS, 910 F.3d 1232, 1244 (D.C.

Cir. 2018) (judicial authority to “compel agency action ‘unlawfully withheld’” exists only “under

narrow circumstances”).

        In sum, CDC acted within a zone of reasonableness; it appropriately utilized its technical and

scientific expertise to consider the relevant issues, and reasonably explained its public health

determination in issuing the August 2021 Order. The APA requires no more.



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        E. CDC’s August Order Reasonably Advanced Title 42’s Statutory Purpose
        Plaintiffs next argue that the August order failed to advance the purpose of 42 U.S.C. § 265

because COVID-19 was already widespread in the United States. Br. at 16. This argument is

untethered from the regulatory framework. The regulation defines “serious danger of the introduction

of [a] quarantinable communicable disease into the United States” as “the probable introduction of

one or more persons capable of transmitting the quarantinable communicable disease into the United

States, even if persons or property in the United States are already infected or contaminated with the

quarantinable communicable disease.” 42 C.F.R. § 71.40(b)(3); see also id. § 71.40(b)(1) (defining

“introduction into the United States” to include situations where “the quarantinable communicable
disease has already been introduced, transmitted, or is spreading within the United States”).

        Plaintiffs’ motion does not challenge the regulation, and in any event, CDC’s interpretation of

its authority under Section 265 is entitled to deference under Chevron, U.S.A., Inc. v. Natural Resources

Defense Council, Inc., 467 U.S. 837 (1984). See Encino Motorcars v. Navarro, 136 S. Ct. 2117, 2125 (2016);

United States v. Mead Corp., 533 U.S. 218, 229-30 (2001); Guedes v. ATF, 920 F.3d 1, 17-18 (D.C. Cir.

2019). “[W]hen an agency is authorized by Congress to issue regulations and promulgates a regulation

interpreting a statute it enforces, the interpretation receives deference if the statute is ambiguous and

if the agency’s interpretation is reasonable.” Encino Motorcars, 136 S. Ct. at 2124. The premise of

Chevron is that when Congress grants an agency the authority to issue statute-implementing regulations,

“it presumes the agency will use that authority to resolve ambiguities in the statutory scheme.” Id. at

2125. Under Chevron’s two-step analysis, a court must first determine “whether Congress has directly

spoken to the precise question at issue,” and if it has, that is the end of the inquiry. Id. at 2124–25

(cleaned up). If the statute is ambiguous, the Court “must defer to the agency’s interpretation if it is

reasonable.” Id. at 2125 (cleaned up).

        As CDC explained in the preamble to the Final Rule, “[i]n the public health context, the term

‘serious danger’ is ambiguous.” 85 Fed. Reg. at 56,446. Because Congress did not define the term, it

was “within HHS’s delegated statutory rulemaking authority” to do so. Id.; see, e.g., Rodriguez v.

Gonzalez, 451 F.3d 60, 63 (2d Cir. 2006) (affording Chevron deference to an agency’s “construction of

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undefined statutory terms such as ‘moral turpitude,’” under federal immigration law “because of the

[agency’s] expertise applying and construing immigration laws”). Moreover, CDC had the scientific

and technical expertise to resolve the ambiguity, which was further informed by “CDC’s experience

during the COVID-19 pandemic.” 85 Fed. Reg. at 56,446.                   As CDC further explained, the

determination of whether there is a “serious danger” is a “qualitative determination,” and “does not

require the CDC Director to make a numerical finding or a quantitative or empirical showing of

probability in order to prohibit the introduction of persons.” Id.

        The CDC Director duly complied with the regulation when she issued the August order,
making a qualitative judgment that a suspension of the right to introduce noncitizens was required to

prevent the spread of COVID-19, even though the virus was already spreading in the United States.

See 86 Fed. Reg. at 42,838–40; see also id. at 42,839 (recognizing that “COVID-19 has already been

introduced and is spreading within the United States”). And as already demonstrated above, the CDC

Director’s conclusion was reasonable and is amply supported by the administrative record.

        Nevertheless, Plaintiffs argue that the August 2021 order was not justified because the record

does not show that noncitizens were having a “meaningful impact on the spread of COVID-19 within

the United States.” Br. at 16. 8 But neither the statute nor the implementing regulation uses a

“meaningful impact” standard. Rather, the CDC Director was to make a qualitative judgment whether

a Title 42 order was “necessary” to protect the public health in light of the rapid spread of the Delta

variant. The CDC Director determined that it was. Indeed, Plaintiffs cannot reasonably argue that in

August 2021, noncitizens coming across the southwest border were somehow immune from the highly

transmissible Delta variant even while undergoing processing in the congregate settings of CBP’s


8
  Plaintiffs selectively quote from an October 2021 interview of Dr. Anthony Fauci in which Dr. Fauci
suggested that expelling immigrants was not the solution to stopping the spread of COVID-19. Br.
at 16 (citing CNN, Fauci: Expelling immigrants ‘not the solution’ to stopping COVID-19 spread (Oct. 3, 2021)),
available at https://tinyurl.com/5ua5m4bm. Later in the interview, Dr. Fauci was asked about the
CDC’s ongoing reeavaluation of the August order and Dr. Fauci responded, “I am not as familiar with
the intricacies of that to make any comment about that rule.” Fauci: Expelling immigrants ‘not the solution’
to stopping COVID-19 spread at 3:30–4:05. Accordingly, even if this interview could be considered by
the Court in this record-review case under the APA, it is irrelevant to the arbitrary and capricious
analysis.
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border facilities or were incapable of transmitting the virus into the United States. To the contrary,

the CDC Director found that “[f]or the unvaccinated, Delta remain[ed] a formidable threat,” 86 Fed.

Reg. at 42,832, and “[c]ountries of origin for the majority of incoming covered noncitizens have

markedly lower vaccination rates,” id. at 42,834. The CDC Director therefore reasonably determined

that their introduction into the United States “present[ed] a heightened risk of morbidity and

mortality … due to the congregate holding facilities at the border and the practical constraints on

implementation of mitigation measures in such facilities.” Id.. at 42,834. And “[o]utbreaks in these

settings increase the serious danger of further introduction, transmission, and spread of COVID-19
and variants into the country.” Id.

        Plaintiffs also argue that the August order is “underinclusive” because trains and road vehicles

are also considered congregate settings. Br. at 17. The argument again relies on an inapposite

standard. Underinclusiveness is a concept employed in constitutional scrutiny “to ensure that the

proffered state interest actually underlies the law.” Blount v. SEC, 61 F.3d 938, 946 (D.C. Cir. 1995)

(cleaned up). It is particularly used in the First Amendment context where the government is required

to show that its restriction on speech is narrowly drawn to serve a compelling government interest.

Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 799 (2011). “Underinclusiveness raises serious doubts

about whether the government is in fact pursuing the interest it invokes, rather than disfavoring a

particular speaker or viewpoint.” Id. But even in the First Amendment context, underinclusiveness

is not necessarily fatal, and seemingly underinclusive laws have been upheld under strict scrutiny.

Williams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015). In contrast, under rational basis review of

government action in equal protection cases, a law can be “both underinclusive and overinclusive”

because “‘perfection is by no means required.’” Vance v. Bradley, 440 U.S. 93, 108 (1979) (quoting

Phillips Chem. Co. v. Dumas School Dist., 361 U.S. 376, 385 (1960)).

        The August 2021 order, of course, does not implicate the First Amendment or otherwise

infringe on any constitutional rights. The concept of underinclusiveness is simply inapplicable. The

APA does not “require agencies to tailor their regulations as narrowly as possible” to the issues sought

to be addressed by the regulations. Associated Dog Clubs of N.Y. State, Inc. v. Vilsack, 75 F. Supp. 3d 83,

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92 (D.D.C. 2014). As discussed above, “[s]urviving arbitrary and capricious review requires only a

reasoned explanation based on the facts found by the agency.” Id. Here, CDC clearly “has reasonably

considered the relevant issues and reasonably explained the decision.” Prometheus Radio Project, 141 S.

Ct. at 1158. For example, a commenter on the interim final rule noted, as Plaintiffs do here, that the

rule did not “bar travel by tourists arriving by plane or ship, even though these modes of transportation

are explicitly listed as congregate settings with a risk of disease.” 85 Fed. Reg. at 56,452. CDC’s

response was that there were other tools “available to address public health risks in transportation

hubs.” Id. Indeed, by the time of the August 2021 order, “the U.S. government and CDC [had]
implemented a number of COVID-19 mitigation and response measures,” many of which “involved

restrictions on international travel and migration.” 86 Fed. Reg. at 42,831 & n.22 (describing

restrictions on “non-essential travel along land borders,” restrictions on cruise ship passenger

operations, and restrictions on air travel). CDC’s assessment of the issue was reasonable when viewed

in the context of the full panoply of the U.S. government’s restrictions on entry into the United States.

        Plaintiffs further contend that the August 2021 order was too limited in scope to have any

meaningful effect, citing statistics noted by Judge Walker during D.C. Circuit oral argument in this

matter that the August order only covers about 0.1% of border crossers of the Canadian and Mexican

borders. Br. at 17 (citing Oral Argument Tr. at 5, Cheung Decl., Ex. B). But as discussed above,

CDC’s public health assessment is not a simple numeric calculation. Rather, the critical consideration

for CDC is that covered noncitizens would, under normal circumstances, be processed under Title 8

and held for some time potentially extended period of time in space-constrained congregate settings.

86 Fed. Reg. at 42,835. As CDC noted, “COVID–19 has disproportionately affected persons in

congregate settings,” and studies have shown that “a single introduction of SARS–CoV–2 into a

facility can result in a widespread outbreak.” Id. at 42,833 n.46; id. at 42,833 (“in congregate settings

… even a single asymptomatic case can trigger an outbreak”).

        Again citing extra-record material, Plaintiffs further argue that the August 2021 order likely

exacerbated, rather than reduced, COVID-19 transmissions. Br. at 18-20. But even if this Court

could appropriately consider such extra-record material, which it cannot, none of it undermines the

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CDC’s decision-making. For example, Plaintiffs highlight evidence indicating that Title 42 expulsions

lead to high rates of recidivist border crossings. Br. at 18. Even so, CDC rationally determined that

the August order was appropriate because, among other things, Title 8 processing of a noncitizen can

still take up to eight times as long as Title 42 processing. 86 Fed. Reg. at 42,836. The experience of

using Title 42 orders since the onset of the pandemic shows that such orders “significantly reduced

the length of time covered noncitizen [single adults] and [family units were] held in congregate setting

[by DHS].” Id. at 42,837. “By reducing congestion in these facilities, the Orders have helped lessen

the introduction, transmission, and spread of COVID-19 among border facilities and into the United
States while also decreasing the risk of exposure to COVID-19 for DHS personnel and others in the

facilities.” Id. While recidivism may be a by-product of Title 42 orders, courts simply “are not

authorized to second-guess agency” decisions that weigh the advantages and disadvantages of any

given policy. Advocs. for Highway & Auto Safety v. Fed. Motor Carrier Safety Admin., 429 F.3d 1136, 1150

(D.C. Cir. 2005); see also Bonacci v. Trans. Sec. Admin., 909 F.3d 1155, 1162 (D.C. Cir. 2018) (declining

to second-guess the Transportation Security Administration’s decision to screen crewmembers

differently from airport employees).

        Plaintiffs next argue that CDC’s Title 42 orders keep noncitizens in CBP custody longer than

under normal circumstances because certain noncitizens cannot be expelled immediately to Mexico

but must await repatriation flights to their home countries. Br. at 19. However, to the extent

noncitizens are expelled by flights under the August 2021 order, terminating the order would not have

decreased the time family units spent in congregate settings undergoing Title 8 immigration

processing. Just the opposite – CDC assessed, based on information provided by DHS, that in the

absence of the August order, “both [single adults] and [family units’] time in [CBP] custody would

likely increase significantly.” 86 Fed. Reg. at 42,837.

        Finally, Plaintiffs argue that the August 2021 order requires “needless additional

transportation” on planes and buses and actually increases close-quarters exposures, thereby

contributing to the spread of COVID-19 across both sides of the border. Br. at 19-20. Plaintiffs

contend that this violates the principle set forth in Judulang v. Holder, 565 U.S. 42, 58 (2011), that

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policies must have a “connection to the goals” of or constitute a “rational operation of” the laws at

issue. This case is nothing like Judulang. In that case, the Supreme Court invalidated a Board of

Immigration Appeals’ policy that it found to be “unmoored from the purposes and concerns of the

immigration laws,” because the policy allowed “an irrelevant comparison between statutory provisions

to govern a matter of utmost importance—whether lawful resident aliens with longstanding ties to

this country may stay here.” Id. at 64. Here, in contrast, in enacting Section 265 authorizing the

suspension of the right to introduce noncitizens into the United States to address the public health

crisis, Congress already has determined that the suspension is connected to the goal of promoting public
safety from communicable diseases. CDC’s extension of its Title 42 authority in August 2021 was

thus tied to its public health determination, not unmoored from it. CDC concluded that, as of August

2021, “[c]omplete termination [of its prior Title 42 orders] would increase the number of noncitizens

requiring processing under Title 8, resulting in severe overcrowding and a high risk of COVID-19

transmission among those held in the facilities and the CBP workforce, ultimately burdening the local

healthcare system.” 86 Fed. Reg. at 41,837. Its decision to extend its Title 42 authority was thus in

line with the purposes of Section 265.

        In sum, Plaintiffs’ attempts to poke holes in CDC’s public health determination are unavailing,

especially given the “extreme deference” owed to the agency’s decision-making in this context. West

Virginia, 362 F.3d at 871; see also Rural Cellular Ass’n, 588 F.3d at 1105.

        F. CDC Was Not Required to Consider Harms to Noncitizens in Issuing the August
           2021 Order
        Plaintiffs’ final argument is that CDC acted arbitrarily and capriciously by not weighing the

“countervailing harms” to noncitizens against the domestic public health benefit when it issued its

August 2021 order. Br. at 20–22. But neither the statute nor the implementing regulation calls for

the CDC Director to engage in any such balancing of harms. Rather, Section 265 is concerned with

preventing the introduction of a “communicable disease in a foreign country” into the United States.

Congress enacted Section 265’s predecessor statute in 1893 in response to a cholera epidemic. See Act

of Feb. 15, 1893, ch. 114, § 7, 27 Stat. 449, 452; Huisha-Huisha v. Mayorkas, 27 F.4th 718, 723 (D.C.


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Cir. 2022). Congress recognized the threat of cholera from Europe, Mexico, and Canada, and sought

to prevent the disease “from either entering the country or spreading after it has made its entry.” 24

Cong. Reg. at 359; see also id. at 363, 364, 370, 371. The sole inquiry under the statute is whether, in

the CDC Director’s judgment, a Title 42 order “is required in the interest of the public health.” 42

U.S.C. § 265; see also 42 C.F.R. § 71.40(a)(2) (same standard).

        The relevant statute thus limits CDC’s authority to addressing a specific and serious danger to

public health posed by a communicable disease. Nothing in Section 265 shows an intent by Congress

to allow CDC to disregard its public health conclusions based on countervailing harms to migrants.
Indeed, by its very nature, a Title 42 order involving persons will always have consequences for

migrants because such an order operates by allowing CDC to temporarily suspend their entry into the

United States. See 42 U.S.C. § 265 (“Suspension of entries … to prevent the spread of communicable

diseases”); see also 24 Cong. Rec. at 470 (Jan. 10, 1893) (statement of Senator George Gray explaining

that the exigency posed by “invasion of contagious disease, is sufficient . . . to justify this extraordinary

power of the entire suspension of immigration”); id. at 393 (statement of Senator George Hoar: “this

section should be added, declaring in terms whenever the health or protection of the country from

infection requires the total suspension of immigration”); id. at 393–94 (similar statement of Senator

Chandler). The statute makes clear that CDC’s assessment is about the interest of public health Cf.

Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001) (“[W]e find it implausible that Congress

would give to the EPA through these modest words [i.e., ‘requisite to protect the public health’ with

an ‘adequate margin of safety,’] the power to determine whether implementation costs should

moderate national air quality standards.”).

        The cases Plaintiffs cite are readily distinguishable. See Br. at 20. For example, in American

Wild Horse Preservation Campaign v. Perdue, 873 F.3d 914 (D.C. Cir. 2017), the relevant statutes and

regulations expressly “obligated” the United States Forest Service to “analyze the environmental

consequences of proposed federal actions.” Id. at 919–20. It was in the context of that express

statutory requirement that the court held that the Forest Service acted arbitrarily and capriciously by

failing to adequately analyze those consequences. Id. at 930–32. In Nat’l Lifeline Ass’n v. FCC, 921

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F.3d 1102, 1111 (D.C. Cir. 2019), the agency was found to have acted arbitrarily and capriciously

because “Congressional directives” and agency regulations required the agency to make voice and

broadband services more available for low-income consumers, and yet the agency failed to consider

that its actions would result in the loss of access for such consumers.

        Plaintiffs’ reliance on Department of Homeland Security v. Regents of the University of California, 140

S. Ct. 1891 (2020), is also misplaced. In Regents, the Court held that in rescinding the DACA program,

DHS acted arbitrarily and capriciously by failing to consider the “reliance interests” of DACA

recipients, many of whom had “enrolled in degree programs, embarked on careers, started businesses,
purchased homes, and even married and had children.” Id. at 1914. Plaintiffs point to no similar

reliance interests for noncitizens who are not yet in the country, and particularly since Title 42 orders

had already been in place for nearly a year at the time CDC issued its August 2021 Order. More

fundamentally, Plaintiffs do not, and in fact cannot, contend that any reliance interest they had on

immigration processing as it existed before CDC issued its Title 42 order could override the statutory

authority granted by Congress to address a public health emergency through the temporary suspension

of immigration laws. Indeed, as CDC has explained, its Title 42 orders “are not, and do not purport

to be, policy decision about controlling immigration; rather … CDC’s exercise of its authority under

Section 265 depends on the existence of a public health need.” 87 Fed. Reg. at 19,954. CDC’s

statutory directive is clear, and it need not consider the immigration consequences to noncitizens

whose entry is temporarily suspended by a Title 42 order when it determines that the interest of the

public health requires such an order.

        In any event, while not relevant to the public health determination under Section 265, CDC

did not simply “ignore” the consequences that its Title 42 orders would have on noncitizens, as

Plaintiffs contend. Br. at 20. As explained, CDC has always recognized that a Title 42 order is an

extraordinary measure precisely because it displaces normal immigration processing. See, e.g., 87 Fed.

Reg. at 19,956. For that reason, CDC carefully considered alternatives to a blanket suspension order

and adopted those alternatives when warranted, including by excepting unaccompanied children and

allowing for case-by-case exceptions based on the totality of the circumstances. See supra Section II.D.

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But as a public health agency charged with protecting the health of the American people, CDC is not

required to engage in the kind of balancing of harm to noncitizens that Plaintiffs maintain is required

in this context. See AR 3378 (CDC’s mission is to “serve[] as the national focus for developing and

applying disease prevention and control, environmental health, and health promotion and health

education activities designed to improve the health of the people of the United States”) (emphasis

added). CDC has appropriately grounded its public health assessment in the statutory factors that

Congress directed the agency to consider. No more is required.

III.    AN INJUNCTION IS NOT AN APPROPRIATE FORM OF RELIEF AND,
        REGARDLESS, EQUITABLE FACTORS FAVOR DEFENDANTS
        Because Plaintiffs’ arbitrary and capricious claim fails on the merits, the Court need not

consider what form of relief is appropriate. But even if the Court were to conclude otherwise,

Plaintiffs are not entitled to a permanent injunction. See eBay Inc. v. MercExchange, L.L.C., 547 U.S.

388, 391 (2006) (a movant for a permanent injunction must show (1) that remedies available at law are

inadequate to compensate for that injury; (2) they have suffered an irreparable injury; (3) that,

considering the balance of hardships between the plaintiff and defendant, a remedy in equity is

warranted; and (4) that the public interest would not be disserved by a permanent injunction). “‘An

injunction is a drastic and extraordinary remedy, which should not be granted as a matter of course’

or where ‘a less drastic remedy … [is] sufficient to redress’ the plaintiffs’ injury.” O.A. v. Trump, 404
F. Supp. 3d 109, 154 (D.D.C. 2019) (quoting Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165

(2010)). “An injunction … does not follow from success on the merits as a matter of course.” Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 32 (2008); see also eBay Inc.., 547 U.S. at 392–93 (“[T]his Court

has consistently rejected invitations to replace traditional equitable considerations with a rule that an

injunction automatically follows a determination [of the merits].”).

        Here, as Plaintiffs admit, CDC recognizes that the current public health conditions no longer

require the continuation of the August 2021 order. Br. at 24–25. CDC has issued a termination order

whose effect has been preliminarily enjoined by another court and the injunction is currently pending

appeal in the Fifth Circuit. That is the only reason the August 2021 order is still in effect. And if

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CDC were to use a new Title 42 order in the future restricting the entry of family units into the United

States, Plaintiffs, like “any party aggrieved by a hypothetical … decision[,] will have ample opportunity

to challenge it, and to seek appropriate preliminary relief.” Monsanto, 561 U.S. at 164. Of note, in

September 2021, the D.C. Circuit stayed this Court’s prior preliminary injunction order pending

appeal, which stay was dissolved when the D.C. Circuit issued its decision in March 2022. See Order,

No. 21-5200 (D.C. Cir. Sept. 30, 2021), Doc. No. 1916334. Plaintiffs did not seek a separate

preliminary injunction under its arbitrary and capricious claim in the interim. Nor did they move for

such relief after the D.C. Circuit issued its decision in March or when the mandate issued in late May.
Indeed, the situation for class members has improved since the D.C. Circuit first stayed this Court’s

preliminary injunction because the D.C. Circuit has since held that Defendants may not expel class

members to places where they would be persecuted or tortured. Huisha-Huisha, 27 F.4th at 722; see

also id. at 733 (recognizing that the government did not “attempt to deny that the Plaintiffs will suffer

irreparable harm if they are expelled to places where they will be persecuted or tortured”).

        On the other hand, the government and the public have an interest in protecting the integrity

of government’s valid orders. To be sure, the public health conditions underlying the August 2021

order no longer exist, and CDC’s order seeking to terminate the August order was enjoined by the

U.S. District Court for the Western District of Louisiana. But those events do not call into doubt the

validity of the August 2021 order or provide a basis to invalidate the August order based on today’s

facts. This is particularly so when the government is actively pursuing its appeal of the preliminary

injunction in the U.S. Court of Appeals for the Fifth Circuit. The orderly administration of justice

compels that the August order be judged based solely on the administrative record before the agency

and that this highly deferential review process not be used to short-circuit the separate appellate

process in the Fifth Circuit.

                                           CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ motion for partial summary

judgment.



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Respectfully submitted,

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